                  3:19-cr-30067-RM-TSH # 107   Page 1 of 2
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                                                      Thursday, 17 June, 2021 12:17:21 PM
                                                             Clerk, U.S. District Court, ILCD

                   UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                       SPRINGFIELD DIVISION


UNITED STATES OF AMERICA,     )
                              )
             Plaintiff,       )
                              )
     v.                       )                No. 19-CR-30067
                              )
TODD SHEFFLER, WILLIE HEDDEN, )
and ALEX BANTA,               )
                              )
             Defendants.      )


                       ENTRY OF APPEARANCE

     Eugene L. Miller, Assistant United States Attorney, hereby enters his

appearance in this case on behalf of the United States of America.



                                   Respectfully submitted,
                                   DOUGLAS QUIVEY
                                   Acting United States Attorney

                                   s/Eugene L. Miller
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                   3:19-cr-30067-RM-TSH # 107     Page 2 of 2




                        CERTIFICATE OF SERVICE

      I hereby certify that on June 17, 2021, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to counsel of record.



                                     s/ Eugene L. Miller
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